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February 25, 2019

VIA ECF

The Honorable R. Brooke Jackson
United States District Judge
District of Colorado
901 19th Street, Courtroom A902
Denver, CO 80294
       Re:     Precision Discovery, Inc. v. Hitachi Vantara Corp. et al.;
               Civil Case No.:18-cv-02561 (RBJ)(NRN)
Dear Judge Jackson:
We represent Plaintiff Precision Discovery, Inc. and write with the consent of counsel for
Defendants Hitachi Vantara Corp. and Cold Creek Solutions, Inc. (together, “Defendants”) to
respectfully request that any deadlines currently in place be extended by 30 days to allow the
parties to finalize a settlement agreement that would resolve all of the claims associated with this
action. The deadlines currently in place in this action include: 1) the deadline for Precision
Discovery to answer Cold Creek’s counterclaim, which is currently February 27, 2019; 2) the
deadline for Precision Discovery to amend its complaint as a matter of course, which is currently
February 27, 2019; and 3) the deadline for the parties to request an initial scheduling conference,
which is currently March 25, 2019. See Dkt. No. 5. Once the settlement agreement is finalized,
Plaintiff will seek to promptly dismiss this action. Therefore, extending the existing deadlines in
this action by 30 days will save the parties the need to unnecessarily incur further expenses as they
work together to resolve all of the claims in this matter.

We thank Your Honor for the Court’s time and attention to this matter.

Respectfully submitted,


Kenneth D. Walsh

cc:    All counsel of record (via ECF)
